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AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                  Western District of Washington                              on the following
      G Trademarks or         G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
                                                                                          Western District of Washington
PLAINTIFF                                                                    DEFENDANT
 AMAZON.COM, INC., a Delaware corporation,                                     MEHMOOD QAISER, an individual, SHAHEEN GUL, an individual, AMEN
                                                                               QUALITY GOODS LLC, a New Jersey limited liability company, individually
 AMAZON.COM SERVICES LLC, a Delaware limited                                   and collectively doing business as JHOL, as well as individually and
 liability company; and WORLD WRESTLING                                        collectively doing business as HOUSEOFSCOTLAND, an individual or
 ENTERTAINMENT INC., a Delaware corporation,                                   entity doing business as HOUSEOFSCOTLAND; and DOES 1-10,

        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 2,757,597 (IC 25)                        8/26/2003                   WORLD WRESTLING ENTERTAINMENT, INC.

2 2,765,751 (IC 28)                        9/16/2003                   WORLD WRESTLING ENTERTAINMENT, INC.

3 2,799,228 (IC 18)                        12/23/2003                  WORLD WRESTLING ENTERTAINMENT, INC.

4 4,675,657 (IC 28)                        1/20/2015                   WORLD WRESTLING ENTERTAINMENT, INC.

5 4,727,923 (IC 18)                        4/28/2015                   WORLD WRESTLING ENTERTAINMENT, INC.


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G Answer            G Cross Bill        G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                        (BY) DEPUTY CLERK                                            DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
         Case 2:22-cv-01216-RSL-SKV Document 1-2 Filed 08/30/22 Page 2 of 2




    PATENT OR                        DATE OF       HOLDER OF PATENT OR TRADEMARK
  TRADEMARK NO.                     PATENT OR
                                   TRADEMARK

 6.    3,541,936 (IC 18)           12/2/2008    WORLD WRESTLING ENTERTAINMENT, INC.

 7.    3,538,710 (IC 25)           11/25/2008   WORLD WRESTLING ENTERTAINMENT, INC.

 8.    3,489,357 (IC 28)           8/19/2008    WORLD WRESTLING ENTERTAINMENT, INC.

 9.    3,042,792 (IC 25)           1/10/2006    WORLD WRESTLING ENTERTAINMENT, INC.

 10.   3,473,626 (IC 28)           7/22/2008    WORLD WRESTLING ENTERTAINMENT, INC.

 11.   1,348,618 (IC 41)           7/9/1985     WORLD WRESTLING ENTERTAINMENT, INC.

 12.   1,574,169 (IC 16)           1/2/1990     WORLD WRESTLING ENTERTAINMENT, INC.




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